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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No. 16-cv-01717-MSK-STV

   BILLY J. RADAN, aka Ms. JAYDE MOONSHADOW

   Plaintiff,

   v.

   RICK RAEMISCH, in his official capacity, and
   DARREN LISH, in his official capacity,

   Defendants.


                                       NOTICE OF SETTLEMENT


           The parties, through undersigned counsel, hereby submit the following Notice of

   Settlement, and state as follows:

        1. The parties have reached in principle a settlement of all claims in this matter, and hereby

           provide the Court with notice of that settlement.

        2. The parties attended a settlement conference on June 19, 2018, with the Honorable

           Joseph J. Bellipanni at the Judicial Arbiter Group, Inc. From this conference, the parties

           have fully executed a Memorandum of Understanding and those terms will be

           incorporated into a formal settlement agreement.

        3. The parties are working on a final release and settlement, which they anticipate will be

           fully-executed within 60 days.

        4. Upon the final release and settlement’s full execution, the parties will file a stipulation to

           dismiss this action.
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        Respectfully submitted this 22nd day of June, 2018.

                                            s/ Olivia Kohrs
                                            Olivia Kohrs, Student Attorney

                                            s/ David Valleau
                                            David Valleau, Student Attorney

                                            s/ Alexandra Parrott
                                            Alexandra Parrott, Student Attorney

                                            s/ Danielle C. Jefferis
                                            Danielle C. Jefferis

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                                            Attorneys for Plaintiff


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                                   CERTIFICATE OF SERVICE

           I hereby certify that on June 22, 2018, I electronically filed the foregoing NOTICE OF
   SETTLEMENT with the Clerk of Court using the CM/ECF system which will send electronic
   notification to the following:

          Kathryn Starnella:
          Kathryn.Starnella@coag.gov

          Counsel for Defendants

                                              s/ Danielle C. Jefferis
                                              Danielle C. Jefferis




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